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                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     UNITED STATES OF AMERICA,                     Case No. 2:21-cr-00491-SB
16
                 Plaintiff,                        GOVERNMENT’S OPPOSITION TO
17                                                 DEFENDANT’S MOTION TO
                        v.                         SUPPRESS STATEMENTS; EXHIBITS
18                                                 A-C
     JEFFREY FORTENBERRY,
19                                                 Hearing Date:     1/11/2022
                 Defendant.                        Hearing Time:     8:30 a.m.
20
                                                   Indictment: 10/19/2021
21                                                 Pretrial Conference: 2/8/2022 at 8:00 a.m.
                                                   Trial: 2/15/2022 at 8:00 a.m.
22                                                 Last Day: 3/2/2022
23
24         Plaintiff United States of America, by and through its counsel of record, the
25   United States Attorney for the Central District of California and Assistant United States
26   Attorneys Mack E. Jenkins, J. Jamari Buxton, and Susan S. Har, hereby files its
27   opposition to defendant JEFFREY FORTENBERRY’s (“defendant”) Motion To
28   Suppress Statements. (Dkt. No. 35, “Mot.”)
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 1         This opposition is based upon the attached memorandum of points and authorities
 2   and attached exhibits, the files and records in this case, and such further evidence and
 3   argument as the Court may permit.
 4    Dated: December 14, 2021                 Respectfully submitted,
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         In March 2019, defendant Jeffrey Fortenberry dug himself a medium-sized hole
 4   when he voluntarily provided incomplete and inaccurate information to federal
 5   investigators who interviewed him about his knowledge of illicit contributions received
 6   by his campaign from his friends and associates. Aware of the perilous situation he
 7   created for himself by his misleading statements in that first interview, defendant
 8   promptly engaged with criminal counsel, Trey Gowdy, and urged his counsel to re-
 9   contact the government seemingly in the hopes of ameliorating his self-inflicted wound.
10   Mr. Gowdy, an experienced lawyer and former Assistant United States Attorney, by his
11   and defendant’s own admission, knew defendant had additional information to provide.
12   Mr. Gowdy presumably expected defendant would seek to do so by telling the truth
13   during the second interview in July 2019. But defendant chose a different path; he lied –
14   more times and more unequivocally – and he dug himself a deeper hole. Even accepting
15   defendant’s factual narrative as set forth in the declaration of Mr. Gowdy, the record is
16   clear that: (a) defendant knew his first interview was, at minimum, incomplete; (b) the
17   government apprised defendant that he had potential criminal liability and was a subject
18   of their investigation into illegal contributions; (c) defendant proactively sought out the
19   second interview ostensibly to provide additional information; (d) the second interview
20   was entirely voluntary; (e) it occurred with defendant’s counsel at their chosen venue; (f)
21   defendant knew the topics of the second interview; (g) it was entirely recorded; and (h) it
22   was conducted without any promise from the government or request of any protections
23   from defendant or Mr. Gowdy. Now, finding himself in this bigger hole for his own
24   choices and voluntary statements, defendant blames the prosecutors and the agents for
25   his predicament and requests a legal windfall—that his multiple material lies to the
26   federal government during his second interview receive no sanction. But neither the law
27   nor the facts support suppression here.
28
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 1         The object of defendant’s motion is again Assistant United States Attorney Mack
 2   Jenkins, who defendant claims induced him to lie to federal investigators during the July
 3   2019 interview by (a) representing to Mr. Gowdy ahead of the interview that defendant
 4   was a subject, as opposed to a target, of the investigation, and (b) assuring Mr. Gowdy
 5   during a break in the already occurring interview that the government’s investigation
 6   was not, in Mr. Gowdy’s words, “some bullshit 1001 case.” For the reasons outlined
 7   below, defendant’s inducement claim fails and his requested remedy should be denied.
 8   II.   FACTUAL BACKGROUND 1
 9         In February 2016, defendant attended a political fundraiser in Los Angeles hosted
10   by Individual H (the “2016 Fundraiser”) that netted defendant’s re-election campaign
11   $30,200. (Dkt. No. 1 at ¶¶ 5, 11.) The source of that money was Gilbert Chagoury, a
12   billionaire foreign national and associate of defendant who was prohibited under federal
13   law from contributing to defendant’s campaign. (Id. at ¶¶ 3, 11). To disguise the illegal
14   foreign contribution, Chagoury enlisted Toufic Baaklini, a United States businessman
15   whom defendant knew well, to give Individual H $30,000 in cash. (Id. at ¶¶ 4, 11.)
16   Individual H, in turn, recruited individuals to make the illegal conduit contributions to
17   defendant’s campaign at the 2016 Fundraiser and then reimbursed them using the cash
18   Individual H received from Baaklini. (Id. at ¶ 11.)
19         In March and April 2018, defendant contacted Individual H to inquire about
20   hosting another fundraiser. (Id. at ¶ 14.) Unbeknownst to defendant, Individual H had
21   begun cooperating with the government, (id. at ¶ 13), which was investigating, among
22   other things, “if and when defendant . . . knew about any conduit contributions to his
23   campaign at the 2016 Fundraiser,” “if and when defendant . . . knew about any illegal
24   foreign contributions from his congressional campaign received indirectly from
25   Chagoury at the 2016 Fundraiser,” and “if and when defendant . . . had any direct or
26
27         1
              A more detailed Statement of Facts describing the allegations of the Indictment
28   are set forth in the government’s Opposition to Defendant’s Motion to Dismiss the
     Indictment for Lack of Venue. (Dkt. No. 18 at 3-9.) For brevity, it is not repeated here.
                                                  2
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 1   indirect communication with Chagoury or Baaklini about the contributions his campaign
 2   was to and did receive at the 2016 Fundraiser.” (Id. at ¶ 12.)
 3         In June 2018, Individual H placed a recorded call to defendant to discuss his
 4   requests for another fundraiser (the “2018 Call”). (Id. at ¶ 14.) During the call,
 5   Individual H told defendant, among other things, that Baaklini had provided Individual
 6   H $30,000 cash ahead of the 2016 Fundraiser, that Individual H had distributed the
 7   $30,000 cash to other individuals to contribute to defendant’s campaign at the fundraiser,
 8   and that Chagoury was probably the original source of the money. (Id. at ¶¶ 14, 15.)
 9         Federal agents interviewed defendant at his home in Nebraska on March 23, 2019
10   (the “March 2019 Interview”). (Id. at ¶ 19(a).) During the interview, which agents
11   surreptitiously recorded, and in which defendant was warned that lying to the FBI was a
12   crime, defendant stated, among things, that he was not aware of Baaklini making any
13   illegal contributions or of Baaklini directing or facilitating others to do so. (Id. at ¶
14   (19(a)(i).) Defendant also stated that he was not aware of any contributions made by
15   foreign nationals to his campaign. (Id. at ¶ 19(a)(iii).)
16         Ahead of the March 2019 interview, an FBI agent submitted an internal memo to
17   FBI headquarters seeking approval to interview defendant and describing the
18   government’s investigation to date. (Mot., Ex. B.) The agent explained in the document
19   that defendant was “a subject of the investigation.” (Id. at JF00002484.) The agent went
20   on to state the following: “In the event [defendant] agrees to be interviewed, the
21   information he provides may be used to pursue the indictment of . . . Baaklini . . . and
22   Chagoury. Case agents will also seek to indict [defendant] with Misprision of a Felony
23   and Conduit Contributions. In addition if case agents determine from the interview that
24   [defendant] is making false statements he will be charged with False Statement.” (Id. at
25   JF00002486.) In another section of the document, the agent stated that AUSA Jenkins
26   “was notified and concurred with the interview.” (Id.)
27         Soon after the March 2019 Interview, defendant enlisted Mr. Gowdy, a former
28   member of Congress and former federal prosecutor, to represent him. (Mot., Ex. A at
                                                    3
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 1   ¶¶ 3, 5, 7). Mr. Gowdy contacted the FBI, which referred him to AUSA Jenkins. (Id. at
 2   ¶ 8.) Mr. Gowdy later called AUSA Jenkins and discussed the general nature of the
 3   investigation. (Id. at ¶ 9.) During the call, Mr. Gowdy asked AUSA Jenkins whether
 4   defendant was considered a subject, target, or witness in the investigation, referencing
 5   terms defined in the Department of Justice’s internal Justice Manual, which provides
 6   guidance to federal attorneys. (Id. at ¶ 11.) According to Mr. Gowdy, AUSA Jenkins
 7   told Mr. Gowdy that defendant was “a subject trending toward a witness.” (Id. at ¶ 12.)
 8   Mr. Gowdy thereafter arranged for defendant to participate in a second interview with
 9   federal agents on July 18, 2019 at Mr. Gowdy’s office in Washington, D.C. (the “July
10   2019 Interview”). (Id.) At the time, defendant claimed he was “keenly interested in
11   sharing information with federal authorities” and “wanted to assist in the investigation.”
12   (Id. at ¶ 11.)
13          Before the July 2019 Interview, AUSA Jenkins sent Mr. Gowdy an email
14   identifying the prosecutors and agents that would be attending the interview, as well as
15   the topics the government planned to cover with defendant. (Ex. A at 1.) Specifically,
16   AUSA Jenkins told Mr. Gowdy: “[W]e do not have anything we intend to have
17   [defendant] review in advance. But the topics of the interview will be consistent with
18   what you and I have discussed and will include his prior interview with the FBI at his
19   home and any conversations he has had regarding donations to his campaign with or
20   regarding [Individual H], Baaklini, and Chagoury.” (Id.)
21          As he had been before the March 2019 Interview, defendant was advised, this time
22   by AUSA Jenkins, before the July 2019 Interview that it was a crime to lie to the federal
23   government. (Dkt. No. 1 at ¶ 19(b).) Indeed, AUSA Jenkins provided defendant with a
24   fulsome discussion of all the ways in which the interview was voluntary and made clear
25   to defendant he had various options—including not answering questions—except for
26   one: lying. Specifically, AUSA Jenkins advised:
27          We will again sort of go over just a few, , call them admonitions or house-
            keeping matters, uh, particulars that we explain to everyone that we
28          interview. This is a voluntary interview which is important, for the reasons
                                                  4
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 1         that most people understand. Voluntary that means that you can stop, you
           can take a break, you can have private time with your counsel, private time
 2         with yourself, you can tell us to go home, you can tell us to stop the
           recording, all those options are available to you and will remain available to
 3         you as long as you sit through the interview. Sort of counterpoint or part of
           that contract if you will, is that obviously, , they are the FBI we’re the
 4         Federal Government, lying to the FBI or Federal Government is a Federal
           crime. not to say that you have any motive or plan to do that, or intend to do
 5         that, we just got to make that admonition as your counsel alluded to
           beforehand. Uh, part of that comes with,, if and when we do ask you
 6         questions that you may not want to tell us the answer, or may not think it’s
           any of our business or may just wonder why we’re asking. You can let us
 7         know all of those things, uh, why are you asking? We may not give an
           answer or, give you an answer to your satisfaction, but we may also say
 8         “you know what, let’s move on”, or we’ll come back to that”, or we’ll,
           maybe we’ll explain to you why we want to know. Um, so you have all
 9         those options available to you. Again, the only option, uh, you do not have
           or at least we would advise against is obviously lying. So if we do ask you a
10         question where you think to yourself, um, no, I’m not sure if I want to
           answer that right now, or I want to think about it, again, all those answers
11         totally fine, we won’t judge you, we’ll try and move on, try to get to an
           answer we think, try to refresh your recollection if possible depending on
12         what the issue is we think, but, we’ll try to work through that so don’t let
           stop you from, participating.
13
     (Ex. B at 2:20-44) (cleaned up.)
14
           The government thereafter asked defendant about the same topics AUSA Jenkins
15
     had described in his July 17, 2019 email, focusing on defendant’s contact with Individual
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     H. (Mot., Ex. A at ¶ 17.) During a break in the interview, Mr. Gowdy purportedly asked
17
     AUSA Jenkins whether “this was some bullshit 1001 case.” (Id.) According to Mr.
18
     Gowdy, AUSA Jenkins replied that it was not. (Id.)
19
           During the July 2019 Interview, and despite AUSA Jenkins’ advisement,
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     defendant made a number of false and misleading statements. Among others, defendant
21
     stated that he had not been told by Individual H during the 2018 Call that Baaklini had
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     given Individual H $30,000 cash to help fund the 2016 Fundraiser, and that he was not
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     aware of any illicit donation made during the 2016 Fundraiser. (Dkt. No. 1 at
24
     ¶¶ 19(b)(i), 19(b)(ii).) Defendant now seeks to suppress the false statements he made to
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     the government during the July 2019 Interview.
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 1   III.   RELEVANT LAW
 2          A.    There Is No Duty to Warn of Target Status and Failures to Warn Do
                  Not Immunize False Statement Crimes
 3
            The law is clear: there is no duty to warn an individual of their target status and a
 4
     failure to so warn does not immunize an individual’s false statement crimes. “It is firmly
 5
     settled that the prospect of being indicted does not entitle a witness to commit perjury[.]”
 6
     United States v. Washington, 431 U.S. 181, 189 (1977). “Because target witness status
 7
     neither enlarges nor diminishes the constitutional protection against compelled self-
 8
     incrimination, potential-defendant warnings add nothing of value to protection of Fifth
 9
     Amendment rights.” Id. Accordingly, the Supreme Court has rejected the argument that
10
     it is “fundamentally unfair to elicit incriminating testimony from a potential defendant
11
     without first informing him of his target status.” Id. at 190 n.6; United States v. Smith,
12
     659 F. App’x 908, 914 (9th Cir. 2016) (“Even assuming that he was a target at that time,
13
     there was no due process violation because [defendant] was advised of his Fifth
14
     Amendment rights.”). The Justice Manual – which “provides internal DOJ guidance”
15
     and “is not intended to, does not, and may not be relied upon to create any rights,
16
     substantive or procedural, enforceable at law” – makes this clear. (See Justice Manual, §
17
     1-1.200)2; see United States v. Olivieri, 740 F. Supp. 2d 423, 424 (S.D.N.Y. 2010) (“The
18
     law places no generalized duty on the Government to inform individuals who are being
19
     investigated, interviewed, or deposed that they are a target or subject of a criminal
20
     investigation. In the instant case, the Government violation [defendant] alleges is that of
21
     a Department of Justice policy and not one based on the United States Constitution or
22
     other federal law.”) (internal citation omitted). It is well established that violations of
23
     internal governmental policies (which did not occur here) do not violate a defendant’s
24
25          2
             Section 9-11.151 of the Justice Manual requires prosecutors to advise grand jury
26   witnesses of their rights if they are either a “target” or a “subject” of the grand jury
     investigation. (Justice Manual, § 9-11.151, available at https://www.justice.gov/jm/jm-
27   9-11000-grand-jury#9-11.151.) The Justice Manual defines a “target” as “a person as to
     whom the prosecutor or the grand jury has substantial evidence linking him or her to the
28   commission of a crime and who, in the judgment of the prosecutor, is a putative
     defendant.”
                                                   6
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 1   due process rights or establish a basis to exclude reliable evidence. See United States v.
 2   Ash, 464 F. Supp. 3d 621, 632 (S.D.N.Y. 2020) (rejecting motion to suppress
 3   defendant’s statements to agents where defendant claimed agents should have informed
 4   her she was a target within the meaning of the Justice Manual; “Failure to adhere to this
 5   DOJ policy does not rise to the level of governmental misconduct that is so outrageous
 6   that common notions of fairness and decency would be offended were judicial process
 7   invoked to obtain a conviction.”) (citation omitted).
 8         An argument that the defendant was misled by the government fares no better for
 9   the same reasons when the statement was still voluntary. In United States v.
10   Okwumabua, 828 F.2d 950 (2d Cir. 1987), the district court agreed with defendant’s
11   claim that government deception induced a false statement and suppressed his
12   statements. But, the Second Circuit reversed, explaining:
13         Defendant . . . argues that he would have exercised his fifth amendment
           right to remain silent had he not been victimized by agency deception . . . .
14         In our view, [Defendant]’s will was not overborne and his capacity for self-
           determination was not critically impaired by the agent’s [deception]. The
15         totality of the circumstances discloses that, despite the agent’s silence about
           his identity, [defendant’s] statements were the product of his essentially free
16         and unconstrained choice. Accordingly, we conclude that [defendant’s]
           statements were made voluntarily and should not have been suppressed.
17
     Okwumabua, 828 F.2d at 954 (cleaned up) (emphasis added).
18
           Moreover, the Supreme Court has long recognized that – even where the
19
     government procures a defendant’s statements improperly – that defendant is not thereby
20
     entitled to commit perjury or to make false statements with impunity. See United States
21
     v. Wong, 431 U.S. 174, 180 (1977) (“[P]erjury is not a permissible way of objecting to
22
     the Government’s questions. . . . Indeed, even if the Government could, on pain of
23
     criminal sanctions, compel an answer to its incriminating questions, a citizen is not at
24
     liberty to answer falsely.”); Bryson v. United States, 396 U.S. 64, 72, 90 (1969)
25
     (rejecting challenge to false statement prosecution; “[I]t cannot be thought that as a
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     general principle of our law a citizen has a privilege to answer fraudulently a question
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     that the Government should not have asked . . . . A citizen may decline to answer the
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                                                  7
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 1   question, or answer it honestly, but he cannot with impunity knowingly and willfully
 2   answer with a falsehood.”); see Olivieri, 740 F. Supp. 2d at 424 (“[E]ven if an
 3   individual’s perjured testimony is improperly procured because of government
 4   misconduct, that testimony may still be used to prosecute that defendant for perjury.”)
 5   IV.   ARGUMENT
 6         A.     AUSA Jenkins’ Representation Before the July 2019 Interview That
                  Defendant Was a Subject Was Accurate and Not Misleading and, In
 7                Any Event, Is Not Grounds for Suppression
 8         Defendant contends that, before the July 2019 Interview, AUSA Jenkins falsely
 9   represented to Mr. Gowdy that defendant was a subject of the investigation instead of a
10   target. (Mot. at 4-6.) But defendant was not a target at that stage, and a contrary
11   argument is belied by the plain language of the Justice Manual, the circumstances
12   surrounding the investigation ahead of the interview, and common sense. Moreover,
13   even if defendant had been a target at the time of his second voluntary interview, failing
14   to warn him as such, or advising him that he was a subject of the investigation, does not
15   violate any right. See Washington, 431 U.S. at 190 n.6; Smith, 659 F. App’x at 914;
16   United States v. Goodwin, 57 F.3d 815, 818 (9th Cir. 1995) (“[T]he failure of the AUSA
17   to comply with internal department policy does not, without more, establish a
18   deprivation of [defendant’s] constitutional rights. [T]he [Justice] Manual is not intended
19   to, does not, and may not be relied upon to create any rights, substantive or procedural,
20   enforceable at law by any party in any matter civil or criminal.”) (citation and quotations
21   omitted). Further, unlike many of the cases where this claim is raised, AUSA Jenkins’
22   did represent that defendant was a subject within the meaning of DOJ’s internal Justice
23   Manual – i.e., “a person whose conduct [was] within the scope of the grand jury’s
24   investigation,” which was an accurate description of defendant’s status in the CDCA
25   Investigation into Federal Election Campaign Act (“FECA”) and foreign influence
26   violations (the “Federal Investigation”) before his voluntary July 2019 Interview.
27   Although the government had reason to believe defendant had not provided accurate or
28   complete information during a voluntary March 2019 Interview about topics related to
                                                  8
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 1   the Federal Investigation, which heightened its concerns about defendant’s participation
 2   in Chagoury and Baaklini’s FECA schemes, defendant was plainly not a target, or “a
 3   putative defendant,” for his conduct with respect to those schemes following the March
 4   2019 Interview.
 5         Given that the government’s investigation was still ongoing and that defendant
 6   had contacted the government to discuss how defendant could provide “additional
 7   information”3 to federal authorities, this interview could have shed additional light on
 8   defendant’s knowledge, conduct, and intent during the March 2019 interview. Put
 9   another way, defendant could have simply come clean about the information discussed
10   during the June 2018 call with Individual H. Such “additional information” would have
11   not incriminated him in the FECA investigation and would have likely rendered any
12   false statement prosecution based on the first interview alone unnecessary.
13         AUSA Jenkins’ alleged statement that defendant was a subject “trending towards
14   a witness” also does not change this analysis, as it still clearly communicated that
15   defendant was then a subject of the Federal Investigation and thus had potential criminal
16   liability. Moreover, it cannot be credibly argued that alerting someone – in an
17   apparently single brief telephone communication that was documented nowhere and
18   never spoke of again – that they were presently the subject of an investigation but had a
19   pathway to a lesser status could cause that subject’s will to become “overborne.” See
20   Okwumabua, 828 F.2d at 54 (reversing the district court’s suppression of statements
21   after finding that the government’s tactics did not amount to the defendant’s will
22   becoming “overborne”). For that matter, even when a person is wrongly advised that
23   they are purely a witness (which defendant agrees never occurred here) does not provide
24   immunity for defendant’s lies – in a voluntary or even compelled interview. Wong, 431
25   U.S. at 180; Bryson, 396 U.S. at 72, 90. This is because government action that is
26
27         3
             Defendant advised federal investigators that, after talking with Mr. Gowdy, he
28   wanted a second interview to provide “additional information” to the government. (Ex.
     B at 41:25-35).
                                                  9
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 1   merely “incorrect or ill-advised” does not violate due process. Bishop v. Wood, 426
 2   U.S. 341, 350 (1976). That an FBI agent participating in the investigation may have
 3   contemplated various potential charges against defendant in an internal FBI approval
 4   memo—and discussed why defendant was a “subject” (not target)—does not alter the
 5   AUSA’s identification of defendant as a subject.4
 6         Though Section 9-11.151 of the Justice Manual applies on its face only to grand
 7   jury witnesses, defense counsel will often ask – and federal prosecutors will sometimes
 8   volunteer – a person’s status even if they are not scheduled to testify before the grand
 9   jury. Critically, a person’s status as a target, subject, or witness is subjective and not set
10   in stone. To the contrary, just as investigations evolve as the government develops
11   additional evidence, so too can a person’s status change from one point to another.
12         Contrary to defendant’s assertion, defendant was clearly a subject within the
13   meaning of the Justice Manual when Mr. Gowdy called AUSA Jenkins to inquire about
14   the Federal Investigation and offered that defendant could help federal authorities. At
15   the time, the government was continuing to investigate, among other things, if and when
16   defendant knew about any illegal foreign or conduit contributions to his campaign at the
17   2016 Fundraiser, and if and when defendant had any direct or indirect communication
18   with Chagoury or Baaklini, two of the main subjects of the investigation, about the
19   contributions his campaign received. And while the prosecutors handling the
20   investigation – whose judgment dictated whether defendant was a target – had reason to
21   believe that defendant had not been forthcoming during the March 2019 Interview, one
22   could theorize various reasons – some dubious, some less so – defendant might have
23   initially given federal agents inaccurate information.
24         Similarly, there are credible reasons why, at that time, the government did not feel
25   it could prove defendant’s guilt of making a material false statement beyond a reasonable
26   doubt and thus why he was not then a “putative defendant.” For example, the
27
28         4
              This is corroborated by the fact that defendant was never charged with either of
     the initial two offenses mentioned in that FBI internal communication.
                                                   10
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 1   government must prove that defendant’s conduct was willful, that is, his false statements
 2   were not due to inadvertence, poor questioning, faulty memory, etc.5 One could likewise
 3   view a U.S. Congressperson retaining criminal counsel after an initial interview with the
 4   FBI and IRS and then seeking a second interview as a sign he sought to clarify, retract,
 5   and/or expand on his previous statements to federal agents. This would naturally
 6   influence prosecutors’ view of defendant’s role, if any, in the conduct being investigated
 7   and their ultimate decision whether to charge defendant with any federal crimes,
 8   including making false statements in the prior interview.6 Under these circumstances,
 9   AUSA Jenkins’ representation to Mr. Gowdy that defendant was a subject (not a target)
10   of the investigation was accurate and not misleading.
11         Defendant focuses heavily on the AUSA’s alleged caveated statement to Mr.
12   Gowdy that defendant, although currently a subject, was “trending toward a witness.”
13   But defendant overstates how this apparently once uttered statement could have
14   meaningfully changed the calculus here. Here, defendant was a potential interviewee
15   who had essentially two choices: (1) come in and tell the truth or (2) leave his knowingly
16   problematic first statement for investigators to make their determinations as to his role in
17   the Federal Investigation and hope for the best. By its very terms, a subject trending
18   toward a witness is, at bottom, a subject— a person whose conduct is within the scope of
19   the grand jury’s investigation. And while a foreseeable scenario might be that
20   prosecutors recharacterize defendant as a mere witness at a subsequent stage – for
21   example, if defendant provided truthful and fulsome responses during the July 2019
22   Interview and explained why his initial statements were inaccurate – the complete phrase
23   necessarily identifies what defendant was (a subject) and what he was not (a witness).
24
           5
              Indeed, current defense counsel has repeatedly maintained that defendant has
25   retained and will call a memory expert at trial who will assert that defendant could have
     forgotten all he knew about receiving illegal foreign and conduit contributions as
26   discussed in the call with Individual H.
27          6
              Nor, for that matter, was defendant “a putative defendant” with respect to any
     other potential federal charges as of the July 2019 Interview. Quite the opposite— the
28   government ultimately did not charge defendant with facilitating any illegal campaign
     contributions or related crimes.
                                                  11
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 1   Moreover, it made clear that defendant remained a subject unless and until prosecutors
 2   informed him his status had so changed. Indeed, if prosecutors sought to mislead and
 3   induce defendant to attend the follow up interview he himself was requesting, they could
 4   have simply described defendant’s status as a “witness”; and they could have done so
 5   multiple times, in multiple conversations, in email, and during the interview itself.
 6   None of that occurred.
 7         AUSA Jenkins instead told Mr. Gowdy that defendant was a subject trending
 8   toward a witness in the Federal Investigation focused on Chagoury’s FECA schemes,
 9   and it is reasonable to expect that Mr. Gowdy, an experienced former federal prosecutor,
10   appreciated that important distinction and advised his client accordingly. That Mr.
11   Gowdy, according to his own declaration, never sought further clarification of
12   defendant’s subject status before or during the July 2019 Interview, never asked what, if
13   any, impact the phrase “trending toward witness” had in the government’s mind supports
14   the government’s view. Further, the fact that there were was no written correspondence
15   discussing it or even confirming it, despite the numerous other emails conversations
16   between Mr. Gowdy and the prosecutors immediately before and after the interview
17   further corroborates the point. The fact that it was never discussed during the more than
18   one-hour interview with Mr. Gowdy and defendant, also supports the government’s
19   view. There was no confusion on this point.
20          This lack of evidence of this discussion makes sense because it was not the
21   driving factor in defendant’s decision and request to be interviewed a second time. This
22   point is driven further home when it is taken in the context of AUSA Jenkins’s email to
23   Mr. Gowdy that references the prior discussion. (See Ex. A. at 1.) And, again, while
24   there is no reference to defendant being a witness or any promises or suggestions of the
25   same, there is the list of topics, a discussion of which began with the prior interview.
26   Given that Mr. Gowdy concedes that he was advised that his client was a subject – after
27   defendant participated in a voluntary interview with the FBI – and the first topic
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                                                  12
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 1   referenced for his client-subject was the prior FBI interview 7, common sense would
 2   dictate that defendant’s prior interview had problems. See Ash, 464 F. Supp. 3d at 632
 3   (“given the fact [of defendant’s occupation and], had several contacts with the
 4   government about the [Federal] investigation, and had even been advised by the AUSA
 5   to retain counsel. She could have been under no illusion that she was not at some risk of
 6   criminal exposure.”) But, of course, defendant was already well aware of that problem;
 7   it is what drove him to seek out the second interview seeking to salvage the damage he
 8   had done in his first one. That he failed to do so—and in fact chose to further his lies—
 9   is the result of defendant’s choices, not the government’s, and not Mr. Gowdy’s.
10         The fact that an FBI agent discussed plans to pursue potential charges against
11   defendant in a document seeking authorization for the March 2019 Interview also did not
12   transform defendant from a subject to a target. (See Mot. at 4.) First, the agent who
13   authored the document explained that defendant, at the time, “[was] a subject of the
14   investigation.” (Mot., Ex. B at JF00002484) (emphasis added.) Second, though the
15   document states that agents will “seek to indict” defendant with misprision of a felony
16   and conduit contribution charges in the future, (id. at JF00002486), those charges never
17   materialized, fatally undermining defendant’s assertion that he was a putative defendant
18   with respect to those offenses. Third, while the document states that defendant “will be
19   charged if case agents determine from the [March 2019] interview that defendant . . . is
20   making false statements,” (id.), such charging decisions rested solely with prosecutors
21   and not the agents and was contingent on obtaining additional evidence. (See Justice
22   Manual, § 9-11.151) (defining a target as a person “who, in the judgment of the
23   prosecutor, is a putative defendant”) (emphasis added.) Likewise, though the document
24   indicates that AUSA Jenkins was notified of and concurred with the agents’ plan to
25   interview defendant, it does not say – let alone suggest – that AUSA Jenkins (or any
26   other prosecutor) shared with the agents’ views about charging defendant with
27
28         7
               Ex. A at 1.
                                                 13
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 1   misprision or conduit crimes or otherwise approved of or even saw that internal FBI
 2   document.
 3         In sum, AUSA Jenkins’s advisement to Mr. Gowdy, which included that
 4   defendant was, at bottom, a subject of the Federal Investigation ahead of his voluntary
 5   July 2019 Interview, which he sought out, particularly when combined with the other
 6   written and recorded communications, show that neither Mr. Gowdy nor defendant was
 7   improperly misled or induced to make any statements at his second interview.
 8   Moreover, defendant’s will was not overborne sufficient to transform his voluntary
 9   interview into one that violated his due process rights or that should permit him to lie
10   with impunity to federal investigators. See Washington, 431 U.S. at 188.
11         B.     AUSA Jenkins Correctly Confirmed During the July 2019 Interview
                  That the Government’s Investigation Was Legitimate
12
           Defendant’s allegation that AUSA Jenkins misled Mr. Gowdy when he confirmed
13
     during a break at the July 2019 Interview that the government’s investigation was not
14
     “some bullshit 1001 case” is spurious. (Mot. at 6-7.) The record of this investigation
15
     has since conclusively established the accuracy of AUSA Jenkins’ assurance.
16
           The government was in the midst of investigating if and when defendant knew
17
     that his campaign had received illegal foreign and conduit contributions, including from
18
     a billionaire foreign national with interests affecting the U.S., and whether defendant had
19
     played any role in facilitating those illicit payments, concealing them, or was asked to
20
     take any action as a result of them. Considering that two of these sources, Gilbert
21
     Chagoury and Tofuic Baaklini, were friends and associates of defendant and that they
22
     later admitted their central roles in the scheme (along with two others), the government
23
     maintains the Federal Investigation was and is legitimate. In addition, the government
24
     has similarly not wavered on its view that defendant repeatedly and demonstrably lying
25
     to investigators about his knowledge of those events, as established in the recordings,
26
     violates federal law and is, therefore, a serious matter. It was not as though defendant
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     had been untruthful or given inaccurate information about some ancillary, unimportant
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                                                  14
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 1   fact – for example, his date of birth or what clothes he wore on a particular day. It was
 2   not even as if the government’s proof of falsity was based on weak speculative or
 3   hearsay evidence (as opposed to crystal clear recordings of defendant eagerly discussing
 4   the very things he later lied about). Mr. Gowdy’s pejorative and self-serving view of the
 5   government’s case cannot alter those facts. More relevant to defendant’s motion, it
 6   cannot shield defendant from his own voluntary statements. 8
 7         C.     The Government Neither Induced Defendant to Participate in the July
                  2019 Interview Nor Misled Him About the Nature of the Interview
 8
           Putting aside AUSA Jenkins’ accurate representations regarding defendant’s status
 9
     ahead of the July 2019 Interview and the merits of the investigation during a break in
10
     that interview, additional factors make clear that the government did not mislead or trick
11
     defendant into sitting with the government.
12
           Defendant concedes, for example, it was Mr. Gowdy who contacted the
13
     government to discuss the investigation and the prospect of defendant meeting with the
14
     government. (See Mot. at 4-5) (“Gowdy contacted the FBI to discuss the possibility of
15
     providing the government further assistance and was referred to AUSA Jenkins . . . He
16
     and AUSA Jenkins discussed the general nature of the government’s inquiry and the
17
     prospect of further cooperation by [defendant].”) By his own admission, defendant
18
     claims he “was keenly interested in sharing information with federal authorities” and
19
     “wanted to assist in the investigation.” (Mot., Ex. A ¶ 11.) Taking Mr. Gowdy and
20
     defendant at their word, defendant was independently motivated to participate in another
21
     interview with the government. And “[i]nculpatory statements are not involuntary when
22
23
           8  Defendant suggests that AUSA Jenkins could have asked Mr. Gowdy to clarify
24
     what Mr. Gowdy meant by “some bullshit 1001 case” if he and Mr. Gowdy did not
25   assign the same meaning to the phrase, (id. at 6), but placing this burden of clarification
     on the AUSA makes no sense. Rather, had Mr. Gowdy, an experienced attorney,
26
     intended to seriously ask a more illuminating or substantive question, he was armed with
27   both the ability and the topics. Mr. Gowdy instead asked AUSA Jenkins whether the
     government was investigating “some bullshit 1001 case,” and he got a direct, accurate
28
     response in return and apparently never felt it worth revisiting again.
                                                   15
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 1   they result from a desire to cooperate.” See Ash, 464 F. Supp. 3d at 629 (Ash, a sitting
 2   judge charged with false statements, argued that the two voluntary interviews conducted
 3   while she allegedly was an unknowing “target” of the government’s investigation
 4   constituted “outrageous” government misconduct. The district court found that
 5   argument “unpersuasive, especially when taken in the full factual context,” which
 6   included the judge’s position, experience, and interactions with the government). This
 7   affirmative contact with the government and expressed desire to “help” its investigation
 8   is completely inconsistent with defendant’s claim of inducement.
 9         Mr. Gowdy’s declaration fails to disclose that, ahead of the July 2019 interview,
10   the government, although under no obligation to do so, identified the specific topics it
11   planned to cover during defendant’s requested meeting. Notably, the very first topic
12   enumerated by AUSA Jenkins was defendant’s “prior interview with the FBI at his
13   home[.]” (Ex. A at 1.) The email to Mr. Gowdy also specifically referenced
14   “conversations [defendant] had regarding donations to his campaign with or regarding
15   [Individual H], Baaklini, and Chagoury.” (Id.) Indeed, that was the sum of the topics
16   provided. This explicit notice of the topics – topics which were ultimately the focus of
17   the interview – demonstrates that the government had no intention of misleading or
18   inducing defendant to make false statements during the July 2019 Interview, or of
19   ambushing defendant with questions he had no way of foreseeing. The belated claim
20   that both Mr. Gowdy, an experienced attorney, and defendant, a career politician, were
21   nevertheless somehow tricked regarding the nature of the interview that followed that
22   exact preview provided by the government is unconvincing.
23         Defendant additionally suggests that the government misled defendant by not
24   informing Mr. Gowdy that agents had recorded the 2018 call between Individual H and
25   defendant or the March 2019 Interview. (See Mot. at 5.) This makes no sense.
26   Determining the nature and scope of a person’s involvement in conduct being
27   investigated and assessing that person’s credibility are among the core purposes of
28   conducting an investigatory interview. If the government were required to disclose
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 1   everything it had learned during the course of an investigation before interviewing a
 2   person – thus permitting the person to tailor their responses as they see fit – those
 3   objectives would be all but impossible and the government’s truth-seeking function
 4   would be thwarted. Not surprisingly, defendant cites no authority obligating the
 5   government to alert the people it interviews about the various details of its investigation.
 6   Defendant’s argument here reflects an undercurrent of several aspects of his litigation –
 7   that because he is an elected official he should be provided more favorable treatment
 8   than other defendants or subjects of investigations. Our Constitution says otherwise.
 9   “Our system of jurisprudence rests on the assumption that all individuals, whatever their
10   position in government, are subject to federal law[.]” Butz v. Economou, 438 U.S. 478,
11   505 (1978); see also United States v. Lee, 106 U.S. 196, 220 (1882) (“All the officers of
12   the government, from the highest to the lowest, are creatures of the law and are bound to
13   obey it.”).
14          This claim is rendered further disingenuous again in the context of AUSA Jenkins’
15   email communication with Mr. Gowdy in advance of the interview. (See Ex. A.) There,
16   Mr. Gowdy asked for an advanced preview of any evidence and AUSA Jenkins stated
17   they did not intend to share any such information in advance. (See id.) Mr. Gowdy did
18   not protest to the government’s response, of course, because he full well knew he was
19   “not entitled” to such advance preview of the evidence. (See id.) Indeed, Mr. Gowdy
20   later confirmed that exact sentiment to AUSA Jenkins after being advised that defendant
21   was being investigated for false statements and that the government had evidence that he
22   lied. (See Ex. C.) Again, Mr. Gowdy did not protest or make any claims of surprise or
23   being misled. These email communications undermine defendant’s narrative here.
24          Defendant now claims he would not have participated in the July 2019 interview
25   had he known he had potential criminal exposure (Mot. at 5-6); but this, ignores the fact
26   that he was made aware he had criminal exposure because he concedes he was advised
27   that he was a subject and that the government could have simply issued him a grand jury
28   subpoena to compel his testimony. In such a scenario, the government would have
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 1   posed the same exact questions to him, but this time under oath, in the Central District of
 2   California, without his attorney present – a scenario far less favorable to defendant than
 3   the one he orchestrated to occur at Mr. Gowdy’s then law firm.
 4         In sum, the government had no reason to induce or trick defendant into
 5   participating in the July 2019 Interview that he sought out and that he needed in order to
 6   help himself.
 7         D.     AUSA Jenkins Neither Made Nor Broke Any Promises to Defendant,
                  Thus Invalidating Defendant’s Due Process and Contract-Based
 8                Arguments
 9         “As a general rule, fundamental fairness requires that promises made during plea-
10   bargaining and analogous contexts be respected” so long the government agent was
11   authorized to make the promise, and the defendant relied on the promise to his detriment.
12   Johnson v. Lumpkin, 769 F.2d 630, 633 (9th Cir.1985); United States v. Hudson, 609
13   F.2d 1326, 1329 (9th Cir.1979). Conversely, and logically, there is no due process
14   violation where – as here – the government has made no promises at all to a defendant.
15   See Morgan v. Gonzales, 495 F.3d 1084, 1091 (9th Cir. 2007) (“Because Morgan has
16   not alleged that an actual promise was made, he has not stated a colorable claim that his
17   due process rights were violated . . . . That Morgan believed he would be allowed to
18   remain in the United States indefinitely is not the same as being explicitly promised as
19   much by an authorized agent of the U.S. government. Nor is there any external evidence
20   of a promise.”)
21         AUSA Jenkins’ representation to Gowdy ahead of the July 2019 Interview that
22   defendant was a subject of the investigation was not a promise of any particular
23   protection or result. Defendant does not allege – nor can he – that AUSA Jenkins
24   promised defendant he had no criminal exposure or that the government would not
25   charge defendant with any crimes. To the contrary, AUSA Jenkins explicitly warned
26   defendant that “lying to the FBI or Federal Government is a Federal crime.” (Ex. B at
27   2: 28-29) Moreover, it is also undisputed that defendant was not charged for any
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 1   affirmative admissions he made during the July 2019 interview or related to his violation
 2   of FECA laws; defendant was charged for his lies.
 3         As discussed above, AUSA Jenkins simply made an accurate statement regarding
 4   defendant’s status at that moment in time. That representation conferred no benefit upon
 5   defendant and did not immunize him from being charged in connection with the March
 6   2019 Interview, the July 2019 Interview, or with any other act or event. If that were the
 7   case, any person a prosecutor initially deemed either a subject or a witness would be
 8   forever immune from prosecution based on their past and ongoing conduct, regardless of
 9   what an investigation subsequently revealed, regardless of how often they lied. This
10   outcome, of course, would be illogical.
11         Because AUSA Jenkins neither made nor broke any promises to defendant, the
12   cases defendant cites have no bearing here. See United States v. Carrillo, 709 F.2d 35,
13   37 (9th Cir. 1983) (upholding dismissal of indictment where government agreed to
14   refrain from prosecuting defendant in exchange for his cooperation in a subsequent
15   investigation and court found that defendant met those obligations); United States v.
16   Dudden, 65 F.3d 1461, 1469 (9th Cir. 1995) (remanding case for evidentiary hearing to
17   determine whether government made direct or derivative use of defendant’s statements
18   in its investigation and prosecution of her where agents told defendant “whatever
19   information [she] provided, [she] would not be prosecuted for”); Santobello v. New
20   York, 404 U.S. 257, 262-63 (1971) (remanding case for re-sentencing or other relief
21   where defendant negotiated for a particular plea on condition that no sentence
22   recommendation would be made by the prosecutor and the state breached that
23   agreement); United States v. Moore, No. 2:16-CR-00090-JAM, 2016 WL 5340649, at *3
24   (E.D. Cal. Sept. 23, 2016) (dismissing indictment where government “unequivocally and
25   unconditionally told [defendant’s] attorney that the federal charge against his client
26   would be dismissed” and later “refus[ed] to . . . honor its promise to [defendant].”)
27         Because the government made no promise, defendant’s assertion that he
28   reasonably relied on the government’s assurances, which were likely to induce and in
                                                  19
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 1   fact induced defendant’s detrimental reliance by participating the July 2019 Interview, is
 2   also meritless. (See Mot. at 9-11.) In any event, defendant’s assertion that he was
 3   induced to participate in the July 2019 Interview and to make false statements is belied
 4   by myriad factors, as discussed above.
 5         E.     There Is No False Statements Trap Defense
 6         Defendant’s motion essentially suggests that the government set him up to lie and
 7   that was inherently improper. The Ninth Circuit rejects this theory. More specifically,
 8   the subtext in defendant’s motion appears to be that the government created a “false
 9   statements trap” akin to a “perjury trap” ahead of the July 2019 Interview. As an initial
10   matter, there is no such thing as a “false statements trap.” Additionally, this was plainly
11   not a perjury trap. “A perjury trap is created when the government calls a witness before
12   the grand jury for the primary purpose of obtaining testimony from him in order to
13   prosecute him later for perjury.” United States v. Chen, 933 F.2d 793, 796 (9th Cir.
14   1991) (emphasis added). While the Ninth Circuit has never recognized the “perjury
15   trap” doctrine, see id. at 797, it has recognized that the doctrine is inapplicable when
16   testimony is elicited before a grand jury that (1) is attempting to obtain useful
17   information in furtherance of its investigation; or (2) is conducting a legitimate
18   investigation into crimes within its jurisdiction. See id. The Ninth Circuit’s holding in
19   Chen is instructive:
20         Chen also contends that his perjury prosecution was improper because the
           government anticipated he would commit perjury in testifying before the
21         grand jury because he had lied to the government investigators in the
           informal interviews. We reject this argument. Here, while the government
22         may have anticipated Chen would give false testimony before the grand
           jury, it is also apparent the government recognized that [Chen] ... might
23         provide information about the pending investigation. Indeed, the
           government had reason to expect that Chen would testify truthfully once
24         placed in the solemn atmosphere of the grand jury room.
25   933 F.2d at 797 (cleaned up) (emphasis added). Defendant’s analogous argument here is
26   even weaker than the one the Ninth Circuit rejected in Chen because (a) defendant’s
27   second interview was not compelled or before the grand jury and (b) defendant himself
28   sought out the interview and stated he had “additional information” to provide on the
                                                  20
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 1   relevant topics; thus it was more than reasonable for the government to have “reason to
 2   expect that defendant would testify truthfully.”
 3          As discussed in detail above, at the time of the July 2019 Interview, the
 4   government was investigating, among other topics, if and when defendant knew that his
 5   campaign had received illegal foreign and conduit contributions, and whether defendant
 6   had played a role in facilitating those illicit payments. The questions the government
 7   posed to defendant during the July 2019 Interview related to defendant’s knowledge of
 8   the illegal payments and conversations he with Individual H, Baaklini, and others about
 9   campaign contributions, which necessarily “further[ed] . . . its investigation.” See
10   id. The government’s investigation was likewise legitimate and ultimately revealed that
11   defendant’s campaign had, in fact, received illegal contributions. See id. For those
12   reasons, even if the Ninth Circuit were to ever recognize the trap to which defendant
13   alludes, that defense is inapplicable here. See id.; see also United States v. McKenna,
14   327 F.3d 830, 837-38 (9th Cir. 2003) (noting that Ninth Circuit has not recognized
15   perjury trap as a valid defense and, in any event, explaining it did not apply where
16   defendant was questioned in a civil proceeding and “the government did not use its
17   investigatory powers to question McKenna before a grand jury.”) United States v.
18   Awadallah, 202 F. Supp. 2d 82, 107–08 (S.D.N.Y. 2002), rev’d, 349 F.3d 42 (2d Cir.
19   2003) (“Some defenses, although graced with a name, seem to be illusory. The
20   recantation defense, for example, appears to be an illusion often asserted but never
21   found. The same can be said of ‘perjury trap.’”) (collecting cases).
22   V.    CONCLUSION
23         For the foregoing reasons, the government respectfully requests that this Court
24   deny defendant’s Motion to Suppress Statements.
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                                                 21
